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                Case: 14-14526 Date Fi(1ed:
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                                            03/17/2016 Page
                                                                                     Mar 17, 2016
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                          MIAMI

                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  Amy C. Nerenberg                                                                    For rules and forms visit
  Acting Clerk of Court                                                               www.ca11.uscourts.gov


                                           March 17, 2016

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 14-14526-CC
  Case Style: Hugh Culverhouse v. Paulson & Co. Inc., et al
  District Court Docket No: 1:12-cv-20695-MGC

  A copy of this letter, and the judgment form if noted above, but not a copy of the court's
  decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
  was previously forwarded to counsel and pro se parties on the date it was issued.

  The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
  was previously provided on the date of issuance.

  Sincerely,

  AMY C. NERENBERG, Acting Clerk of Court

  Reply to: Lois Tunstall
  Phone #: (404) 335-6191

  Enclosure(s)
                                                                        MDT-1 Letter Issuing Mandate
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                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                            No. 14-14526
                                           ______________

                                       District Court Docket No.
                                         1:12-cv-20695-MGC

  HUGH F. CULVERHOUSE,
  individually and on behalf of all others similarly situated,

                                                      Plaintiff - Appellant,

  versus

  PAULSON & CO. INC.,
  PAULSON ADVISERS LLC,

                                               Defendants - Appellees.
                         __________________________________________

                         Appeal from the United States District Court for the
                                    Southern District of Florida
                         __________________________________________

                                             JUDGMENT

  It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
  entered as the judgment of this Court.

                                    Entered: February 17, 2016
                    For the Court: AMY C. NERENBERG, Acting Clerk of Court
                                         By: Jeff R. Patch




  ISSUED AS MANDATE 03/17/2016
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                                                                                       [PUBLISH]

                    IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                       No. 14-14526
                                 ________________________

                            D.C. Docket No. 1:12-cv-20695-MGC


  HUGH F. CULVERHOUSE,
  individually and on behalf of all others similarly situated,

                                                                              Plaintiff-Appellant,

  versus

  PAULSON & CO. INC.,
  PAULSON ADVISERS LLC,

                                                                          Defendants-Appellees.

                                 ________________________

                         Appeal from the United States District Court
                             for the Southern District of Florida
                               ________________________

                                       (February 17, 2016)

  Before WILLIAM PRYOR, JULIE CARNES, and SILER, ∗ Circuit Judges.

  WILLIAM PRYOR, Circuit Judge:



  ∗
   Honorable Eugene E. Siler, Jr., United States Circuit Judge for the Sixth Circuit, sitting by
  designation.
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           We certified the following question of state law to the Delaware Supreme

  Court:

           Does the diminution in the value of a limited liability company, which
           serves as a feeder fund in a limited partnership, provide the basis for
           an investor’s direct suit against the general partners when the
           company and the partnership allocate losses to investors’ individual
           capital accounts and do not issue transferable shares and losses are
           shared by investors in proportion to their investments?

  Culverhouse v. Paulson & Co., 791 F.3d 1278, 1281 (11th Cir. 2015). The

  Delaware Supreme Court answered our question in the negative. See Culverhouse

  v. Paulson & Co., No. 349, 2015, slip op. 1, 2 (Del. Jan. 26, 2016). Based on its

  answer, we now affirm the dismissal of the complaint.

                                    I. BACKGROUND

           Hugh Culverhouse invested in HedgeForum Paulson Advantage Plus, LLC,

  a “feeder” fund that invested in Paulson Advantage Plus, L.P. When the latter lost

  $460 million on a bad investment, Culverhouse sued its general partners for breach

  of fiduciary duty, gross negligence, and unjust enrichment. Culverhouse alleged

  that his claims are “direct” under Delaware law. The district court disagreed and

  concluded that his claims are “derivative.” The district court ruled that

  Culverhouse lacked “standing” under Article III of the Constitution and dismissed

  his complaint for lack of “subject matter jurisdiction.” The district court also

  denied Culverhouse’s request for jurisdictional discovery and dismissed his

  complaint without leave to amend.


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        On appeal, we concluded that the question whether Culverhouse’s claims are

  direct or derivative is “unsettled” in Delaware. Culverhouse, 791 F.3d at 1281. We

  certified the question to the Delaware Supreme Court, which held that

  Culverhouse’s claims are derivative. Culverhouse, slip op. at 7–8. We must now

  resolve Culverhouse’s appeal.

                            II. STANDARDS OF REVIEW

        We review the dismissal of a complaint de novo. See Lord Abbett Mun.

  Income Fund, Inc. v. Tyson, 671 F.3d 1203, 1206 (11th Cir. 2012). We review the

  denial of jurisdictional discovery and the denial of leave to amend for abuse of

  discretion. See Reese v. Herbert, 527 F.3d 1253, 1262 n.13 (11th Cir. 2008).

                                    III. DISCUSSION

        The district court correctly dismissed Culverhouse’s complaint. Now that the

  Delaware Supreme Court has answered our certified question, we know that

  Culverhouse’s claims are derivative, not direct. His derivative claims fail because

  Culverhouse was never a partner of Paulson Advantage Plus, L.P. See Del. Code

  Ann. tit. 6, § 17-1002.

        Although the district court correctly concluded that Culverhouse’s claims are

  derivative, it incorrectly described this defect as jurisdictional. In his complaint,

  Culverhouse alleged that his claims are direct under Delaware law. Because his

  theory was “not ‘immaterial and made solely for the purpose of obtaining



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  jurisdiction’ or ‘wholly insubstantial and frivolous,’” Black v. Wigington, No. 15-

  10848, slip op. 1, 20 (11th Cir. Jan. 22, 2016) (quoting Bell v. Hood, 327 U.S. 678,

  682–83 (1946)), the district court should have accepted it as correct for purposes of

  jurisdiction, see Mr. Furniture Warehouse, Inc. v. Barclays Am./Commercial Inc.,

  919 F.2d 1517, 1520 n.2 (11th Cir. 1990). “[I]n reviewing the standing question,

  the court must be careful not to decide the questions on the merits for or against the

  plaintiff, and must therefore assume that on the merits the plaintiffs would be

  successful in their claims.” City of Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir.

  2003) (citing Warth v. Seldin, 422 U.S. 490, 502 (1975)). When the district court

  later concluded that Culverhouse was wrong and that his claims were derivative, its

  ruling should have been on the merits. See Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 134 S. Ct. 1377, 1387 n.4 (2014); Bond v. United States, 131

  S. Ct. 2355, 2362 (2011). That is, the district court should have dismissed

  Culverhouse’s complaint for failure to state a claim, Fed. R. Civ. P. 12(b)(6), not

  for lack of subject-matter jurisdiction, Fed. R. Civ. P. 12(b)(1). See Williamson v.

  Tucker, 645 F.2d 404, 415–16 (5th Cir. 1981).

        Nevertheless, this labeling error is harmless because Culverhouse’s

  complaint should have been dismissed. See McCallum v. City of Athens, 976 F.2d

  649, 650 & n.1 (11th Cir. 1992). Because the complaint fails to state a claim,

  Culverhouse was also not entitled to jurisdictional discovery. See Chatham Condo.



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  Ass’ns v. Century Vill., Inc., 597 F.2d 1002, 1011–12 (5th Cir. 1979). And

  amending his complaint would have been futile. See Sibley v. Lando, 437 F.3d

  1067, 1073 (11th Cir. 2005).

                                 IV. CONCLUSION

        We AFFIRM the dismissal of Culverhouse’s complaint.




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